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                                              United States District Court
                                               Southern District of Iowa
                                                                          )
United States of America                                                  )
                                                                          )
                       Plaintiff,                                         )        Case No. 1:20-cr-00010-JAJ-CFB
                                                                          )
                       vs.                                                )       ORDER OF DETENTION PENDING TRIAL
Casey Ray Gantt                                                           )
                                                                          )
                      Defendant
         On March 26, 2020                     detention hearing was waived by Defendant orally                              ✔   in writing
          Preliminary Hearing was waived orally                               in writing            N/A     ✔
AUSA Sudmann, Defendant                                  and Retained Joseph Hrvol                              appeared. The Court FINDS:
Defendant waives detention hearing and submits to detention with the understanding he/she will be detained.
Defendant is informed that he/she may request hearing later to review detention status.
      There is probable cause to believe defendant has committed an offense as charged:
       Ct. 1: 21:841(a)(1), 841(b)(1)(A), 846. Conspiracy to Distribute a Controlled Substance (Methamphetamine)
       Ct. 2: 21:841(a)(1) and 841(b)(1)(A). Possession with Intent to Distribute a Controlled Substance (Methamphetamine)

                       under 18 U.S.C. § 924(c);

                 ✔ for which the maximum term of imprisonment is 10 years or more, in violation of 21
                       U.S.C. § 841/846/                     .
     ✔ Defendant has not rebutted the presumption of detention allowed by 18 U.S.C. § 3142(e).
         There is a serious risk defendant will not appear.
     ✔ There is a serious risk that the Defendant will endanger the safety of another person or the
         community.
         An Immigration Detainer has been lodged.
     ✔ Defendant is in state custody and appears on a Writ.
The Court has determined that there are no conditions or combination of conditions which reasonably
assure the appearance of the defendant as required and/or the safety of the community or any other person.

The defendant is committed to the custody of the Attorney General or his/her designated representative for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in
custody pending appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel. On order of a court of the United States or on request of an attorney for the Government, the person in charge
of the corrections facility shall deliver the defendant to the United States marshal for the purpose
of an appearance in connection with a court proceeding.

APPEAL: Defendant may file an appeal of the detention order to a district court judge.




Date: March 26, 2020
                                                                                                                         Judge’s signature



                                                                                            Helen C. Adams, U.S. Magistrate Judge
                                                                                                                      Printed name and title
